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                    UNITED STATES COURT OF APPEALS                      FILED
                           FOR THE NINTH CIRCUIT                         OCT 2 2020
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
NATIONAL URBAN LEAGUE; et al.,                 No.    20-16868

                Plaintiffs-Appellees,          D.C. No. 5:20-cv-05799-LHK
                                               Northern District of California,
 v.                                            San Jose

WILBUR L. ROSS, in his official capacity       ORDER
as Secretary of Commerce; et al.,

                Defendants-Appellants,

and

STATE OF LOUISIANA; STATE OF
MISSISSIPPI,

                Intervenor-Defendants.

Before: GRABER, W. FLETCHER, and BERZON, Circuit Judges.

      Appellants and appellees shall appear by telephone for oral argument on the

pending emergency motion to stay the district court’s September 24, 2020 order on

Monday, October 5, 2020 at 9:00 a.m. PDT. The argument will be live-streamed

and shall take place in courtroom 4 in San Francisco. Only one attorney for each

side shall be permitted to argue, and each side will be permitted 20 minutes of

argument time. Call-in instructions will be provided to the appearing parties.




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